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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

Innovatio IP Ventures, LLC, Patent Litigation,
et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:11−cv−09308
                                                              Honorable James F.
                                                              Holderman
JW Marriott Chicago, et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 27, 2013:


        MINUTE entry before Honorable James F. Holderman: The Memorandum
Opinion and Order setting forth the court's findings of fact, conclusions of law, reasoning,
and determination has been filed under seal for presentation to counsel on a temporary
basis using the Court's CM/ECF sealed function. Counsel are requested to review the
opinion for confidential information and jointly submit by no later than noon on October
8, 2013 through Judge Holderman's proposed order e−mail address,
Proposed_Order_Holderman@ilnd.uscourts.gov, a listing of the requested redactions
identifying the page and line (counting down from the first line of the page), and a
redacted copy of the opinion with the confidential information covered over in black with
the integrity of the pages and lines maintained. A redacted opinion will then be filed in the
public record after the court reviews the submission and rules on any issues. Notice
mailed by judge's staff (ntf, )




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